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U.S. District Court for the Northern District Of illinois
Attorney Appearance Form

 

Case Tit|e:§ira“.' Thak:€év' ,?:|Wen man Case Number: 1115-CV-10199
ervicing, , e .

An appearance is hereby filed by the undersigned as attorney for:
A|tisource Solutions, lnc.

Attorney name (type or print):Angela l\/|. laria
Firm: Lil|ig & Thorsness, Ltd.

Street address: 1900 Spring Road, Suite 200
City/State/Zip: Oak Broo|'<l lL 60523

Bar lD Number: 6300963 Telephone Number: 530-571-1900

(See item 3 in instructions)

Email Address: aiaria@lilliglaw.com

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Are you acting as lead counsel in this case? Yes _\: No
Are you acting as local counsel in this case? Yes \/ No
Are you a member of the court’s trial bar? Yes \/ No
lf this case reaches trial, will you act as the trial attorney? Yes g/ No
|f this is a criminal case, check your status. Retained Counsel

 

 

 

 

Appointed Counsel
lf appointed counsell are you

 

 

Federal Defender
|: CJA Panel Attorney

 

 

 

 

ln order to appear before this Court an attorney must either be a member in good standing of this Court's
general bar or be granted leave to appear pro hac vice as provided for by local rules 83.12 through 83.14.
l declare under penalty of perjury that the foregoing is true and correct. Under 28 U.S.C.§1746, this
statement under perjury has the same force and effect as a sworn statement made under oath.

Executed on 5/25/2018

Attorney signature: S/ AnQ€|a |V|- laria
(Use electronic signature if the appearance form is filed electronically.)

ReviSed 8/1/2015

